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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x

ROBERT W. GORDON, ESQ.,

                                                             Plaintiff,
                                                                            NOTICE OF MOTION TO
                              -against-                                     DISMISS THE COMPLAINT

THE CITY OF NEW YORK, MARC ANDES, MARK No. 14 CV-6115 (JPO)(JCF)
PALOMINO, GAYLE SANDERS, FAY LEOUSSIS,
MICHAEL A. CARDOZO, DAVID SANTORO, JOHN
DOE(S) AND JANE DOE(S) (names currently unknown)
each in his/her official and individual capacities,

                                                          Defendants.
------------------------------------------------------------------------x

                 PLEASE TAKE NOTICE that upon the accompanying Notice To Pro Se

Litigant Who Opposes A Rule 12 Motion Supported By Matters Outside The Pleadings, dated

September 23, 2014, the Declaration of Assistant Corporation Counsel Bruce Rosenbaum, dated

September 23, 2014, together with the exhibits annexed thereto and the accompanying

Memorandum of Law in Support of Defendants’ Motion to Dismiss the Complaint, dated

September 23, 2014, and upon all the papers and proceedings previously had herein, defendants

The City of New York, Marc Andes, Mark Palomino, Gayle Sanders, Fay Leoussis, Michael A.

Cardozo, and David Santoro (collectively “Defendants”), will move this Court at the United

States Courthouse for the Southern District of New York, 40 Foley Square, New York, New

York, 10007, before the Honorable J. Paul Oetken, United States District Judge, at a time and

date to be designated by the Court, for a judgment, pursuant to Rule 12(b) of the Federal Rules of

Civil Procedure, dismissing the Complaint against the Defendants on the ground that the

complaint is time-barred in part, that plaintiff has failed to exhaust his administrative remedies in

part and that the complaint fails to state a plausible claim upon which relief can be granted.
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               PLEASE TAKE FURTHER NOTICE that pursuant to paragraph 7 of the

Court’s Individual Practices In Civil Pro Se Cases, papers filed in opposition to this motion must

be served and filed within four weeks of service of the motion papers, and reply papers, if any,

must be served and filed within two weeks of service of opposition papers.

               PLEASE TAKE FURTHER NOTICE that Defendants respectfully request a

stay of discovery during the pendency of this motion.

               PLEASE TAKE FURTHER NOTICE that in the event of the denial of this

motion to dismiss, in whole or in part, Defendants respectfully request twenty-one (21) days

from the docketing of the order in which to answer the complaint.

Date:          New York, New York
               September 23, 2014


                                             ZACHARY W. CARTER
                                             Corporation Counsel of the
                                               City of New York
                                             Attorney for Defendants
                                             100 Church Street, Rom 2-166
                                             New York, New York 10007
                                             (212) 356-2437
                                             brosenba@law.nyc.gov


                                             By:           /s/
                                                    Bruce Rosenbaum
                                                    Assistant Corporation Counsel


TO:     Robert W. Gordon (by ECF)
        Plaintiff Pro Se
        38 Tomahawk Drive
        White Plains, New York 10603
        (914) 671-4181
        rwg215@nyu.edu




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           No. 14 CV-6115 (JPO)(JCF)
          UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK
          ROBERT W. GORDON, ESQ.,

                                                                                       Plaintiff,

                                                -against-

          THE CITY OF NEW YORK, MARC ANDES, MARK
          PALOMINO, GAYLE SANDERS, FAY LEOUSSIS,
          MICHAEL A. CARDOZO, DAVID SANTORO,
          JOHN DOE(S) AND JANE DOE(S) (names currently
          unknown) each in his/her official and individual
          capacities,

                                                                                  Defendants.
                NOTICE OF MOTION TO DISMISS THE
              COMPLAINT, LOCAL RULE 12.1 NOTICE AND
                          DECLARATION

                              ZACHARY W. CARTER
                     Corporation Counsel of the City of New York
                          Attorney for Defendants
                          100 Church Street, Room 2-166
                          New York, New York 10007
                               Of Counsel: Bruce Rosenbaum
                               Telephone: (212) 356-2437
                               Matter No: 2014-029860
          Due and timely service is hereby admitted.

          Dated: New York, New York.........................................2014

          Signed: ......................................................................................

          Attorney for.................................................................................
